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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                   MARTINSBURG


  UNITED STATES OF AMERICA,

                Plaintiff,
  v.                                               CRIMINAL ACTION NO. 3:13-CR-23-06
                                                   (JUDGE GROH)

  ADAM NICOLAS BRADY,

                Defendant.


       ORDER ADOPTING REPORT AND RECOMMENDATION THAT DEFENDANT’S
                      MOTION TO SUPPRESS BE DENIED

         On this day, the above-styled matter came before the Court for consideration of the

  report and recommendation of United States Magistrate Judge James E. Seibert. Pursuant

  to this Court’s Local Rules, this action was referred to Magistrate Judge Seibert for

  submission of a proposed report and a recommendation. Magistrate Judge Seibert filed

  his report and recommendation on October 15, 2013. In that filing, the magistrate judge

  recommended that this Court deny Defendant’s Motion to Suppress a Suggestive

  Photographic Identification [Doc. 136].

         Pursuant to 28 U.S.C. § 636(b)(1)(c), this Court is required to make a de novo

  review of those portions of the magistrate judge’s findings to which objection is made.

  However, the Court is not required to review, under a de novo or any other standard, the

  factual or legal conclusions of the magistrate judge as to those portions of the findings or

  recommendation to which no objections are addressed. Thomas v. Arn, 474 U.S. 140,

  150 (1985). In addition, failure to file timely objections constitutes a waiver of de novo


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  review and the defendant’s right to appeal this Court's Order. 28 U.S.C. § 636(b)(1);

  Snyder v. Ridenour, 889 F.2d 1363, 1366 (4th Cir. 1989); United States v. Schronce,

  727 F.2d 91, 94 (4th Cir. 1984). Judge Seibert ordered the parties to file written objections,

  if any, by October 16, 2013 at 5:00 p.m. EST. He explained that failure to timely file

  objections to the report and recommendation would result in a waiver of the right to appeal

  from a judgment of this Court based upon the Order. The parties did not file any objections

  to Judge Seibert’s report and recommendation. Accordingly, this Court will review the

  report and recommendation for clear error.

         On September 18, 2013, Defendant filed a Motion to Suppress Photographic

  Identification.   Defendant argued that, due to an impermissible and suggestive

  photographic identification by a confidential information, any subsequent in-court

  identification is “tainted and improperly suggestive.” Therefore, the Court should suppress

  any subsequent in-court identification. However, Judge Seibert denied Defendant’s Motion

  to Suppress because “even though the use of a single photograph was unduly suggestive,

  a subsequent identification by [a] [c]onfidential [i]nformant . . . would be sufficiently reliable

  based on the totality of the circumstances.” Upon reviewing the Defendant’s motion and

  Judge Seibert’s report and recommendation, this Court does not find clear error.

         Therefore, it is the opinion of this Court that the magistrate judge’s Report and

  Recommendation [Doc. 214] should be, and is, hereby ORDERED ADOPTED for the

  reasons more fully stated in the magistrate judge’s report. Accordingly, the Court hereby

  DENIES Defendant’s Motion to Suppress Photographic Identification. [Doc. 136].

         It is so ORDERED.

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        The Clerk is directed to transmit copies of this Order to all counsel of record.

        DATED: October 17, 2013




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